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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                 )
                                          )
                        Plaintiff,        )
                                          )
      vs.                                 )                          Case No. 06-40084-3-JAR
                                          )
JESUS MUNOZ-CHIHUAHUA,                    )
                                          )
                        Defendant.        )
                                          )
__________________________________________)


                                   MEMORANDUM AND ORDER

        Defendant Jesus Munoz-Chihuahua is charged with possession with intent to distribute

more than 42 kilograms of marijuana, in violation of 21 U.S.C. § 841(a)(1). Before the Court is

defendant’s Motion to Dismiss for Violation of the Speedy Trial Clock (Doc.113). For the

reasons detailed below, defendant’s motion is granted, and the case is dismissed without

prejudice.

                                                Background

        Defendant was arrested on January 8, 2008 and arraigned the same day.1 At his

arraignment, defendant entered a not guilty plea and was remanded to the custody of the United

States Marshal Service.2 A general order of discovery was entered, scheduling a motions




        1
         (Doc. 75.)
        2
         Defendant Munoz-Chihuahua is charged in Counts 5 and 7 of the Indictment, in this multiple defendant
case.
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deadline for January 29, 2008 and a motions hearing for February 15, 2008.3 Subsequently, the

case was transferred to this Court from Judge Rogers and a status conference was scheduled for

February 20, 2008. On February 19, 2008, defendant filed a motion to continue the status

conference,4 which was granted and the Court found the period from February 20, 2008 through

March 24, 2008 to be properly excludable under 18 U.S.C. § 3161(h)(8)(A).

       During the time period leading up to March 24, the parties engaged in plea negotiations.

A few days before the scheduled March 24 status conference, defense counsel of record,

Richard Benson, made a telephone request for a continuance based on an emergency sickness in

the family, but never submitted a motion nor proposed order for the Court to rule upon. As

such, an order was never entered tolling the trial clock. Benson remains defense counsel, even

though new counsel, Bobby J. Hiebert, Jr., entered his appearance for defendant on September

9, 2008.5

       Between March 24, and June 2, 2008, no action occurred in defendant’s case. The next

docket entry in the case took place on June 3, 2008, when the prosecutor withdrew from the

action and another entered his appearance.6 The docket reflects no action until July 22, 2008,

when the Court scheduled a status conference for August 4, 2008.7 After the status conference,

the Court scheduled a motions hearing for September 22, 2008. On September 2, 2008, the

prosecutor again withdrew from the case and another entered his appearance. On September 9,

       3
        (Doc. 77.)
       4
        (Doc. 84.)
       5
        (Doc. 114.)
       6
        (Doc. 101.)
       7
        (Doc. 106.)

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2008, defendant’s new counsel, Hiebert, filed a motion to dismiss the Indictment for violation

of the Speedy Trial Act, which was taken under advisement on September 22, 2008.

                                               Applicable Law

        Generally, the Speedy Trial Act, 18 U.S.C. 3161, requires that a defendant be brought to

trial within seventy days of the filing of the indictment or from the date the defendant first

appears before a judicial officer.8 “The dual purpose of the Speedy Trial Act is to protect a

defendant's constitutional right to a speedy indictment and trial, and to serve the public interest

in bringing prompt criminal proceedings.”9

        The Speedy Trial Act, 18 U.S.C. 3161(h)(1)(F), excludes from the seventy day

requirement, periods of “delay resulting from any pretrial motion, from the filing of the motion

through the conclusion of the hearing on, or other prompt disposition of, such motion.”10 Under

section 3161(h)(1)(J), periods of “delay reasonably attributable to any period, not to exceed

thirty days, during which any proceeding concerning the defendant is actually under advisement

by the court” are also excluded.11 The Supreme Court has reasoned that subsection (F) excludes

the period between filing a motion and the conclusion of the hearing of the motion, after which,

the district court has thirty days to decide the motion.12 Where a motion does not require a




        8
         18 U.S.C. § 3161(c)(1); United States v. Mora, 135 F.3d 1351, 1354 (10th Cir. 1998).
        9
          United States v. Saltzman, 948 F.2d 1087, 1090 (10th Cir. 1993) (citing United States v. Noone, 913 F.2d
20, 28 (1st Cir. 1990), cert. denied, 500 U.S. 906 (1991)).
        10
             18 U.S.C. § 3161(h)(1)(F).
        11
             Id. § 3161(h)(1)(J).
        12
           Henderson v. United States, 476 U.S. 321, 329 (1986); United States v. Williams, 511 F.3d 1044, 1048
(10th Cir. 2007).

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hearing and can be decided on the papers, the maximum period of delay is thirty days.13

Accordingly, where a motion “does not require a hearing, the Act excludes time through the

period of its prompt disposition, but only if that period does not exceed thirty days from the date

the motion is taken under advisement.”14

        Defendant was arrested on January 8, 2008, and appeared before the court for his initial

appearance that same day. Since his hearing, 190 days have run that are not attributable to

excludable delay. As there is a clear violation, the issue before the Court is whether to dismiss

with or without prejudice.

         Where the Speedy Trial Act is violated, the indictment must be dismissed;15 however,

the court retains “broad discretion whether to dismiss the [i]ndictment with or without

prejudice.”16 Because a violation of the Speedy Trial Act alone is not sufficient to dismiss the

indictment with prejudice,17 the court should consider the seriousness of the offense, the facts

and circumstances of the case, which led to the dismissal, and the impact of reprosecution on

the administration of justice.18

                                                      Analysis

        The Court is not presented with much argument from either sides. Defendant concedes



        13
             Williams, 511 F.3d at 1048 (citing Henderson, 476 U.S. at 329).
        14
             Id.
        15
             Williams, 511 F.3d at 1049.
        16
         United States v. Abdush-Shakur, 465 F.3d 458, 462 (10th Cir.2006), cert. denied, —U.S. —, 127 S. Ct.
1321 (2007).
        17
             Id.
        18
             United States v. Johnson, 120 F.3d 1107, 1112 (10th Cir. 1997).

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that the crimes charged are serious, stating that “[d]efendant in the present matter is charged

with serious offenses related to the distribution of illegal drugs.”19 The government likens

defendant’s conduct to those of other crimes adjudged serious in United States v. Brown20 and

United States v. Hastings.21 In any event, the “Tenth Circuit has acknowledged that felony drug

charges have been treated as serious offenses.”22 In determining whether to dismiss with or

without prejudice, the Tenth Circuit has stated that “‘[w]hen charges are serious, courts should

impose the sanction of dismissal with prejudice only for correspondingly serious delay . . . .”23

Here, the charges pending against defendant are serious drug offenses likely to “result in

imprisonment.”24

        When considering the circumstances leading to dismissal, a district court should look for

indications that the “government was dilatory or neglectful in its prosecution” of the

defendant.25 Dismissal with prejudice is ill-suited for an isolated incident or inadvertent

violations of the Speedy Trial Act.26 Thus, a dismissal with prejudice is not appropriate where a

defendant does nothing more than point to the government’s “mistake with rising



        19
             (Doc. 113, at 3.)
        20
             770 F.2d 241, 244 (1st Cir. 1985).
        21
             847 F.2d 920, 925 (1st Cir. 1988).
        22
          See United States v. Williams, 532 F. Supp. 2d 1323, 1329 (N.D. Okla. 2008) (citing United States v.
Saltzman, 948 F.2d 1087, 1093 (10th Cir. 1993)).

        23
             Saltzman, 984 F.2d at 1090 (citing United States v. May, 819 F.2d 531, 534 (5th Cir. 1987)).
        24
             (Doc. 113, at 3.)
        25
         United States v. Abdush-Shakur, 465 F.3d 458, 463 (10th Cir.2006), cert. denied, —U.S. —, 127 S. Ct.
1321 (2007).
        26
             United States v. Cano-Silva, 402 F. 3d 1031, 1035 (10th Cir. 2005).

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indignation.”27 Finally, as the court, government, and defendant are responsible for effectuating

a defendant’s right under the Act, a defendant that sits passively by as the clock runs and then

claims dismissal with prejudice has less of a claim “than a defendant who makes a timely

assertion, but is unheeded.”28

       In defendant’s case, the Court, government, and defense counsel are at fault for the

running of the trial clock. Neither defense counsel, who may have been distracted by his family

obligations, nor the prosecutor, who might have been distracted by his pending move, filed any

motions to toll the trial clock from March 24 to July 22, 2008. Yet during the time period

leading up to March 24, the prosecutor responded to sentencing motions made by a co-

defendant and actually appeared before the Court on March 24, 2008, for the sentencing of a co-

defendant.29

       The government argues that the circumstances leading to the violation do not warrant

dismissal with prejudice because the defendant waited until his speedy trial clock had more than

doubled before filing a motion to dismiss. The government is correct; this usually weighs

against the defendant. Notably, defendant’s first counsel of record did not file any motions and

it was not until defendant’s second counsel entered his appearance that a motion to dismiss was

filed. Nonetheless, the circumstances leading to dismissal are merely one of many factors to

consider, and this factor is not outcome determinative.

       Another factor is the impact of reprosecution on the Act and the prejudice to defendant



       27
            Id. at 1036.
       28
            United States v. Jones, 213 F.3d 1253, 1257 (10th Cir. 2000).
       29
            (Docs. 88, 89.)

                                                          6
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if the case is dismissed without prejudice. Prejudice to the defendant usually weighs against

reprosecution.30 And, the length of delay is relevant, for “[t]he longer the delay, the greater the

presumptive or actual prejudice to the defendant, in terms of ability to prepare for trial or the

restrictions on his liberty.”31 There is no doubt that 190 days is a substantial delay; but,

defendant has not shown any prejudice other than that he has been detained pending trial during

this time. But such conclusory allegations of prejudice are insufficient to support dismissal

with prejudice. Defendant has failed to show any prejudice that would affect his ability to put

on a defense. Thus, this factor weighs in favor of dismissal without prejudice.32

         Moreover, the impact of reprosecution on the Act weighs in favor of dismissal without

prejudice. Here, dismissal without prejudice would not contradict the purposes of the Act. And

although dismissal with prejudice is the more severe sanction for violation of the Act, dismissal

without prejudice does present obstacles to reprosecution. The Supreme Court has stated that

“[d]ismissal without prejudice is not a toothless sanction: it forces the Government to obtain a

new indictment if it decides to reprosecute, and it exposes the prosecution to dismissal on

statute of limitations ground.”33 Moreover, the Tenth Circuit has noted that a “dismissal

without prejudice requires the government to re-indict, may work to the disadvantage of the

government on limitations grounds, and may make reprosecution less likely.”34 Finally,


         30
              See Jones, 213 F.3d at 1258.
         31
              United States v. Taylor, 487 U.S. 326, 340 (1988).
         32
          See id. at 341 (noting that there was no finding that there was prejudice to defendant’s trial preparation);
see also United States v. Abdush-Shakur, 465 F.3d 458, 464 (10th Cir. 2006), cert. denied, —U.S. —, 127 S. Ct.
1321 (2007) (stating that there is no evidence that the absent witness’s testimony would prejudice defendant’s case).
         33
              Taylor, 487 U.S. at 340.
         34
              Jones, 213 F.3d at 1257 (citing Taylor, 487 U.S. at 342).

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dismissal with prejudice is best reserved for intentional delays caused by the government.35 The

delay occasioned here was merely neglect on the part of both the government and defendant.

Therefore, after weighing the factors, the Court finds that dismissal without prejudice is the

better remedy.

       IT IS THEREFORE ORDERED BY THE COURT THAT defendant’s Motion to

Dismiss (Doc. 113) is granted. The case shall be dismissed without prejudice.

       IT IS SO ORDERED.

       Dated this 10th day of October 2008.



                                                              S/ Julie A. Robinson
                                                             Julie A. Robinson
                                                             United States District Judge




       35
            Abdush-Shakur, 465 F.3d at 463-64.

                                                   8
